     Case 4:07-cv-05944-JST Document 944 Filed 06/07/11 Page 1 of 10




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 9                               UNITED STATES DISTRICT COURT
10                           NORTHERN DISTRICT OF CALIFORNIA
11
                                     SAN FRANCISCO DIVISION
12
     IN RE: CATHODE RAY TUBE (CRT)            )   Master File No. CV-07-5944 SC
13   ANTITRUST LITIGATION                     )
                                              )   MDL No. 1917
14                                            )
15                                            )   INDIRECT PURCHASER PLAINTIFFS’
                                              )   REPLY IN SUPPORT OF MOTION FOR
16                                            )   PRELIMINARY APPROVAL OF CLASS
                                              )   ACTION SETTLEMENT WITH
17                                            )   DEFENDANT CHUNGHWA PICTURE
                                              )   TUBES, LTD.
18                                            )
19                                            )
     This document relates to:                )
20                                            )   Hearing Date: June 9, 2011
     ALL INDIRECT PURCHASER                   )   Time: 10:00 a.m.
21   ACTIONS                                  )   JAMS: Two Embarcadero Center, Suite 1500
                                              )   Judge: Honorable Charles A. Legge (Ret.)
22
                                              )
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                  IPP REPLY IN SUPPORT OF MOTION FOR PRELIMINARY APPROVAL
                                    Master File No. CV-07-5944-SC
     Case 4:07-cv-05944-JST Document 944 Filed 06/07/11 Page 2 of 10




 1        I. Introduction

 2           The Indirect Purchaser Plaintiffs (“Plaintiffs”) submit this reply memorandum in further

 3   support of their motion for preliminary approval of the settlement with defendant Chunghwa

 4   Picture Tubes, Ltd. (“Chunghwa”), and in response to the oppositions filed by the Attorneys

 5   General for the States of Illinois, Washington and Oregon (collectively referred to herein as the

 6   “State AGs”). Plaintiffs have moved the Court to certify a nationwide settlement class of all

 7   indirect purchasers of CRT Products “who could assert, against any Defendant, antitrust claims

 8   under the laws of the United States (including its territories and protectorates), or any State.”

 9           The State AGs oppose Plaintiffs’ motion for preliminary approval of the settlement with

10   Chunghwa, claiming that their respective parens patriae provisions are the only authorized

11   procedures for representing indirect purchaser consumers in their states and that any private

12   settlements on behalf of such consumers are invalid because (1) Plaintiffs lack standing to

13   represent indirect purchaser consumers in their states; and (2) Plaintiffs and their counsel are

14   inadequate representatives of indirect purchaser consumers in their states. The State AGs are

15   incorrect.

16           First, it is well established that the scope of released claims in a settlement may be

17   broader than those brought in the underlying action, and may even exceed the scope of claims

18   that could have been brought. Second, the State AGs’ arguments that they are the sole and

19   exclusive representatives of indirect purchasers in their states squarely conflicts with the Supreme

20   Court’s ruling in Shady Grove Orthopedic Associates, P.A. v. Allstate Ins. Co., 130 S. Ct. 1431

21   (2010). For these reasons, and because the requirements of Rule 23 have been satisfied, it is

22   appropriate to certify a nationwide settlement class here.

23           Despite Plaintiffs’ disagreement with the State AGs’ position, Plaintiffs believe that the

24   appropriate way to address their concerns is through an allocation process. Plaintiffs’ proposal is

25   described in detail infra. See Section III.

26   //

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28                 IPP REPLY IN SUPPORT OF MOTION FOR PRELIMINARY APPROVAL
                                     Master File No. CV-07-5944-SC
     Case 4:07-cv-05944-JST Document 944 Filed 06/07/11 Page 3 of 10




 1       II. Argument

 2          A. A Nationwide Settlement Of Indirect Purchaser Claims Is Appropriate Because
               The Scope Of Released Claims In A Settlement May Be Broader Than Those
 3             Brought In The Underlying Action
 4
            The State AGs contend that Plaintiffs cannot represent the consumers in their states for
 5
     purposes of a nationwide settlement of indirect purchaser claims against Chunghwa. But it is
 6
     well established that parties to a settlement may agree to release not only claims alleged in the
 7
     complaint, but also claims based on the identical factual predicate as those alleged in the
 8
     underlying complaint. See Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1287 (9th Cir. 1992)
 9
     (“The weight of authority holds that a federal court may release not only those claims alleged in
10
     the complaint, but also a claim based on the identical factual predicate as that underlying the
11
     claims in the settled class action even though the claim was not presented and might not have
12
     been presentable in the class action.”) (Emphasis in original).1
13
            Indeed, no provision of Rule 23 requires that potential class members and the class
14
     representatives share identical claims. Instead, as the Supreme Court has made clear, the
15
     standard for determining Rule 23(a) adequacy is that “a class representative must be part of the
16
     class and ‘possess the same interest and suffer the same injury’ as the class members.” E. Tex.
17
     Motor Freight Sys. Inc. v. Rodriguez, 431 U.S. 395, 403 (1977) (quoting Schlesinger v. Reservists
18
     Comm. To Stop the War, 418 U.S. 208, 216 (1974)). Thus, class representatives and class
19
     members need not possess the same claims, only the same “interests.”
20
            The Ninth Circuit has similarly described the Rule 23(a) typicality requirement: “The
21
     purpose of the typicality requirement is to assure that the interest of the named representative
22
     aligns with the interests of the class.” Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir.
23
     1992). “The test of typicality is whether other members have the same or similar injury, whether
24

25
     1
       Accord Hesse v. Sprint Corp., 598 F.3d 581, 590 (9th Cir. 2010); Williams v. Boeing Co., 517
26   F.3d 1120, 1133 (9th Cir. 2008); Reyn’s Pasta Bella LLC v. Visa USA, Inc., 442 F.3d 741, 749
     (9th Cir. 2006).
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28                 IPP REPLY IN SUPPORT OF MOTION FOR PRELIMINARY APPROVAL
                                     Master File No. CV-07-5944-SC
     Case 4:07-cv-05944-JST Document 944 Filed 06/07/11 Page 4 of 10




 1   the action is based on conduct which is not unique to the named plaintiffs, and whether other

 2   class members have been injured by the same course of conduct.” Id. Rule 23(b)(3) similarly

 3   requires “a predominance of common questions, not a unanimity of them.” Sharp v. Coopers &

 4   Lybrand, 70 F.R.D. 544, 547 (E.D. Pa. 1976).

 5          Here, all class representatives and all settlement class members possess the same interest

 6   in obtaining redress and recovery for the defendants’ alleged illegal inflation of the prices

 7   indirect-purchasers paid for CRT Products. All of the claims released under the settlement with

 8   Chunghwa are based on an identical factual predicate – namely, the sale of price-fixed CRTs in

 9   the U.S. and the application of federal and state antitrust laws to that anticompetitive conduct.

10   The anticompetitive conduct alleged in this case is illegal in every state in the Union, as well as

11   the District of Columbia, and gives rise to at least potential individual damage claims on behalf

12   of indirect purchaser consumers. Where, as here, there is a potential monetary claim in all 50

13   states, Plaintiffs and Chunghwa can settle all of those claims and any others that could arise in a

14   litigation. See Matsushita Elec. Ind. Co., Ltd. v. Epstein, 516 U.S. 367, 377-378 (1996).

15          In Matsushita, the Supreme Court held that a jurisdictional bar on litigating the settled

16   claims in the forum court did not preclude that court from approving a binding class action

17   settlement, and in the process, releasing the claims it could never have tried. Id. at 377-378. This

18   was not new law when Matsushita was decided. Courts have long recognized the ability to settle

19   a broad spectrum of factually related claims, regardless of whether they were or could be asserted

20   in the litigation before it. See, e.g., Officers for Justice v. Civil Serv. Comm’n, 688 F.2d 615, 632

21   n.18 (9th Cir. 1982) (“where a particular type of relief potentially available to the class members

22   is compromised in the settlement process, it is mainly irrelevant whether or not that relief was

23   specifically requested in the complaint. The breadth of negotiations is not necessarily confined

24   by the pleadings.”) This has been widely recognized by courts as a reasonable objective of

25   settlements, because “class action settlements simply will not occur if the parties cannot set

26   definitive limits on defendants’ liability.” In re Initial Public Offering Sec. Litig., 226 F.R.D.

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28                 IPP REPLY IN SUPPORT OF MOTION FOR PRELIMINARY APPROVAL
                                     Master File No. CV-07-5944-SC
     Case 4:07-cv-05944-JST Document 944 Filed 06/07/11 Page 5 of 10




 1   186, 194 (S.D.N.Y. 2005), citing Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 121-22

 2   (2d Cir. 2005).

 3          In short, even though Plaintiffs have not asserted a Washington or Oregon antitrust claim

 4   in their operative complaint, and even if the Illinois AG is correct in his interpretation of Shady

 5   Grove (which he is not), Plaintiffs may release these claims as part of the settlement with

 6   Chunghwa.

 7          B. The Proposed Class Can Include Indirect Purchasers In Illinois, Oregon and
               Washington For Settlement Purposes
 8
            The State AGs also argue that the named plaintiffs and their court-appointed counsel lack
 9
     standing to sue on behalf of, and thus cannot adequately represent, indirect purchasers in Illinois,
10
     Washington and Oregon because their respective state laws allow only the Attorney General of
11
     those states to pursue claims on behalf of indirect purchasers . But because each of these states’
12
     laws recognize the right of indirect purchasers to recover for damages, the Supreme Court’s
13
     recent ruling in Shady Grove establishes that state law may not limit the use of the class action
14
     procedure to pursue an action in federal court. 130 S. Ct. at 1437.
15
            In the case of Oregon, state antitrust law explicitly recognizes indirect purchaser standing.
16
     See Ore. Rev. Stat. § 646.780(1)(a) (“An action authorized by this paragraph may be brought
17
     regardless of whether the plaintiff dealt directly or indirectly with the adverse party.”). Even in
18
     situations where the attorney general seeks relief parens patriae, private parties in Oregon can
19
     continue to seek independent relief, even as part of a class action. See, e.g., § 646.780(5)(d)(B)
20
     (ensuring that a natural person may file a class action if a “sufficient number of natural persons
21
     opt out of the parens patriae action . . . ”). These provisions make clear that Oregon state law
22
     does not confer the right to bring a class action for injuries to indirect purchasers exclusively on
23
     the Attorney General.
24
            The Illinois Antitrust Act also unequivocally provides for private indirect purchaser
25
     standing. See 740 Ill. Rev. Stat. 10/7 (“No provision of this Act shall deny any person who is an
26
     indirect purchaser the right to sue for damages.”). It is only through a state procedural law that
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28                 IPP REPLY IN SUPPORT OF MOTION FOR PRELIMINARY APPROVAL
                                     Master File No. CV-07-5944-SC
     Case 4:07-cv-05944-JST Document 944 Filed 06/07/11 Page 6 of 10




 1   Illinois indirect purchasers are prevented from seeking class action relief. See id. In Shady

 2   Grove, however, the Supreme Court found that such a state law procedural limitation should not

 3   apply in a federal court action because it was at odds with the proscriptions of Rule 23 of the

 4   Federal Rules of Civil Procedure. 130 S. Ct. at 1437. In that case, the Court addressed the

 5   validity of a New York statute that prohibited class actions where plaintiffs sought to aggregate

 6   statutory damages in federal court. In holding that Rule 23 constituted a “one-size fits all

 7   formula for deciding the class action question,” the Court determined that the New York statute

 8   was preempted by federal rules of procedure, and that the class action could go forward in federal

 9   court. See id. at 1437.

10           Here, the Illinois Antitrust Act provides a private right of action to indirect purchasers,

11   but uses a procedural mechanism to restrict access to class actions. Under the reasoning of Shady

12   Grove, this limitation should be inapplicable in this federal court proceeding. To the extent that

13   Washington state law also provides for recovery to individual state residents, it also raises the

14   issue of whether in form or substance such an action may be maintained as a class action in

15   federal court. In any event, another court in this district has certified a similar class of

16   Washington residents. See In re Static Random Access Memory (SRAM) Antitrust Litig., 264

17   F.R.D. 603 (N.D. Cal. 2009) (certifying a Washington unjust enrichment IPP class).

18           The Illinois AG attempts to distinguish Shady Grove by arguing that “[t]he Attorney

19   General’s exclusive right to bring an action aggregating the damages claims of Illinois indirect

20   purchasers is part of the substantive framework for enforcement of the Illinois Antitrust Act” and

21   that therefore Justice Stevens’ plurality opinion would allow the Illinois restriction to survive.2

22

23
     2
       State of Illinois and Washington’s Opposition to Indirect Purchaser Plaintiffs’ Motion for
24   Preliminary Approval of Class Action Settlement with Chunghwa Picture Tubes, Ltd., at p. 6-7,
     citing In re Chocolate Confectionary Antitrust Litig., No. 1:08-MDL-1935, slip op. at 2 n.2
25   (M.D. Pa. Feb. 18, 2011); In re Wellbutrin XL Antitrust Litig., No. 08-2433, 2010 WL 5186052,
     at *6 (E.D. Pa. Dec. 22, 2010); In re Flonase Antitrust Litig., 692 F. Supp. 2d. 524, 539 (E.D. Pa.
26   2010); In re TFT-LCD (Flat Panel) Antitrust Litig., No. 07-1827 SI, slip op. at 2 (N.D. Cal. Apr.
     12, 2011).
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28                  IPP REPLY IN SUPPORT OF MOTION FOR PRELIMINARY APPROVAL
                                      Master File No. CV-07-5944-SC
     Case 4:07-cv-05944-JST Document 944 Filed 06/07/11 Page 7 of 10




 1   The Illinois AG’s reliance on Justice Stevens’ plurality opinion and district court cases applying

 2   that opinion is misplaced.

 3          As an initial matter, the Ninth Circuit has cautioned district courts to avoid assuming that

 4   a plurality opinion which includes a separate concurrence automatically means that the separate

 5   concurrence is controlling. See Hayes v. Ayers, 632 F.3d 500, 519 (9th Cir. 2011). Justice

 6   Scalia’s holding in Shady Grove that the proper inquiry is whether Rule 23 is procedural, and

 7   because it is, any state laws that conflict with Rule 23 do not apply in federal court, was joined by

 8   a majority of the Court.

 9          Moreover, whether examined under the plurality opinion or Justice Stevens’ concurrence,

10   the Illinois class action bar, 740 Ill. Comp. Stat. § 10/7, impermissibly conflicts with Rule 23.

11   The statute is, like the New York rule at issue in Shady Grove, a procedural rule that addresses

12   only the manner in which the claim can be filed and maintained and does not ban the claim

13   altogether. The statute does not limit the substantive right or remedy afforded indirect purchasers

14   (or ban the antitrust claim outright), but simply removes one procedure by which the claim may

15   be maintained in state court. The Illinois class action bar is thus “designed as a procedural rule

16   suggest[ing] it reflects a judgment about how state courts ought to operate and not a judgment

17   about the scope of state-created rights and remedies.” See Shady Grove, at 1457 (Stevens, J.)

18   (Emphasis added). Thus, taken together with the Ninth Circuit’s instructions regarding plurality

19   opinions, Plaintiffs submit that the district court opinions cited by the Illinois AG are wrongly

20   decided, and in any event, are not binding on this Court.

21      III. The Objections Of The State AGs Can Be Mooted By Allocating Their States A Pro
                Rata Share Of The Net Settlement Fund
22
            As set forth above, Plaintiffs dispute the State AG’s contention that their state laws
23
     somehow preclude the proposed settlement. In any event, however, Plaintiffs propose that the
24
     State AGs receive a pro rata share of the Net Settlement Fund. This will moot their objection as
25
     to the adequacy of the payment to their states.
26

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28                 IPP REPLY IN SUPPORT OF MOTION FOR PRELIMINARY APPROVAL
                                     Master File No. CV-07-5944-SC
     Case 4:07-cv-05944-JST Document 944 Filed 06/07/11 Page 8 of 10




 1          Plaintiffs’ Counsel does not yet know whether the distribution of the Net Settlement Fund

 2   will be made as a cy pres distribution, through a distribution to claimants, or a combination of the

 3   two. This will be determined based on the amount of additional monies recovered from the other

 4   defendants in this case, and will be subject to approval by the Court. Regardless of which

 5   method of distribution is chosen, Plaintiffs propose that Illinois, Washington and Oregon, along

 6   with the other states seeking damages, receive a pro rata share of the Net Settlement Fund. Each

 7   state’s pro rata share would be determined by computing its population as a percentage of the

 8   total population of all states for which damage claims are being asserted. Each state’s percentage

 9   allocation would be determined using census figures from the year 2000 (approximately the

10   middle of the alleged class period), which are as follows:

11                       State                   Population                    Percentage
                                               (2000 Census)
12

13          Arizona                       5,130,632                    3.41

14          California                    33,871,648                   22.5

15          District of Columbia          572,059                      0.38

16          Florida                       15,982,378                   10.62

17          Hawaii                        1,211,537                    0.8

18          Illinois                      12,419,293                   8.25

19          Iowa                          2,926,324                    1.94

20          Kansas                        2,688,418                    1.79

21          Maine                         1,274,923                    0.85

22          Michigan                      9,938,444                    6.6

23          Minnesota                     4,919,479                    3.27

24          Mississippi                   2,844,658                    1.89

25          Nebraska                      1,711,263                    1.14
26          Nevada                        1,998,257                    1.33
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28                  IPP REPLY IN SUPPORT OF MOTION FOR PRELIMINARY APPROVAL
                                      Master File No. CV-07-5944-SC
     Case 4:07-cv-05944-JST Document 944 Filed 06/07/11 Page 9 of 10




 1           New Mexico                    1,819,046                     1.21
 2           New York                      18,976,457                    12.61
 3           North Carolina                8,049,313                     5.35
 4           North Dakota                  642,200                       0.43
 5           Oregon                        3,421,399                     2.27
 6           South Dakota                  754,844                       0.5
 7           Tennessee                     5,689,283                     3.78
 8           Vermont                       608,827                       0.4
 9           Washington                    5,894,121                     3.92
10           West Virginia                 1,808,344                     1.2
11           Wisconsin                     5,363,675                     3.56
12

13           Plaintiffs propose that each of the states receive its allocable share at a future date to be
14   mutually agreed upon. This ultimate distribution will need to be approved by the Court, and
15   could be further modified based on the arguments made by interested parties at the time of
16   allocation, through a process similar to that presently being overseen by the Honorable Charles B.
17   Renfrew (Ret.) in the DRAM case. See Exhibit A, Stipulation and Order Appointing The
18   Honorable Charles B. Renfrew As Special Master, In re Dynamic Random Access Memory
19   (DRAM) Antitrust Litig., No. M-02-1486 PJH (N.D. Cal. Nov. 30, 2007) (Dkt. No. 1788).
20        IV. Conclusion
21           Plaintiffs respectfully request that the Court: (1) grant preliminary approval of the
22   settlement with Chunghwa; (2) certify the proposed settlement class; (3) approve the notice
23   program; and (4) set a schedule for final approval.
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25   //
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28                  IPP REPLY IN SUPPORT OF MOTION FOR PRELIMINARY APPROVAL
                                      Master File No. CV-07-5944-SC
     Case 4:07-cv-05944-JST Document 944 Filed 06/07/11 Page 10 of 10




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 8                                        Plaintiffs
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28                IPP REPLY IN SUPPORT OF MOTION FOR PRELIMINARY APPROVAL
                                    Master File No. CV-07-5944-SC
